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                                  DISTRICT OF NEV ADA


  UNITED STATESOF AM ERICA,                   )      2:10-CR-391-0 M N-G W F
                                              )
                     Plaintiff,               )
                                              )      SEA LED ORDER
              vs.                             )
                                              )
  ERNEST VIOIL and                            )
  CAROLINE VIGIL,                             )
                  Defendants.                 )
                                              )



              Based on the pending stipulation ofcounsel,and good cause apptaring therefore, the
  courthereby findsthat:
              IT IS H EREBY O RDERED that the sentencing in the above-captioned m atter
  currently scheduled forSeptember21,2012,atthehoursof8:30a.m .and9:00a.m ., be vacated and
  continuedtto
  continued oNovember    16,
               November 16,  2012at the,a
                            2012,        tthehour
                                        hour(s) of t
                                                   s)ofand
                                                   9:00    9:30aa.m.
                                                        9:00    nd 9:30 a .m.

              DATED
              D ATED this 21st day of
                      this         daySeptember, 2012.
                                       ofSeptem ber.20l2.


                                                   ________________________________
                                                   Gloria M. Navarro
                                                   United States District Judge
                                       IM ITED STATES D ISTRICT JUD OE

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